       Case 18-19054-JNP            Doc 48-2 Filed 05/07/18 Entered 05/07/18 17:23:46                                Desc
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1
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Proposed Counsel to Debtors
                                                                            Case No.: 18-19054 (JNP)
In Re:
                                                                            (Jointly Administered)
                                                                 1
Garces Restaurant Group, Inc., d/b/a Garces Group, et al.,
                                                                            Chapter: 11
                          Debtors.
                                                                            Hearing Date and Time:
                                                                            May _____, 2018, at ___:___ __.m.

             ORDER APPROVING DEBTORS' KEY EMPLOYEE INCENTIVE
             PROGRAM AND AUTHORIZING, BUT NOT DIRECTING PAYMENTS
             THEREUNDER

             The relief set forth on the following pages, numbered two (2) through three (3), is

   hereby ORDERED.




   1
     The Debtors in these cases and the last four digits of their employee identification numbers are: GRGAC1, LLC d/b/a Amada
   (7047); GRGAC2, LLC d/b/a Village Whiskey (7079); GRGAC3, LLC d/b/a Distrito Cantina (7109); GRGAC4, LLC (0542);
   Garces Restaurant Group, Inc. d/b/a Garces Group (0697); Latin Valley 2130, LLC; La Casa Culinary, LLC d/b/a Amada
   Restaurant (4127); Garces Catering 300, LLC d/b/a Garces Catering (3791); Latin Quarter Concepts, LLC d/b/a Tinto d/b/a
   Village Whiskey (0067); UrbanFarm, LLC d/b/a JG Domestic (3014); GR300, LLC d/b/a Volver (0347); GRG2401, LLC
   (7222); GRGChubb1, LLC (8350); GRGFC1, LLC (2040); GRGKC1, LLC; GRGWildwood, LLC (9683); and GRGNY2, LLC
   (0475).


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Case No.:           18-19054 (JNP)
Caption:            ORDER APPROVING DEBTORS' KEY EMPLOYEE INCENTIVE PROGRAM AND
                    AUTHORIZING, BUT NOT DIRECTING PAYMENTS THEREUNDER

           THIS MATTER having been opened by the above-captioned debtors and debtors-in-

possession, Garces Restaurant Group, Inc., d/b/a Garces Group, et al. (the "Debtors"), upon the

Motion2 for an Order approving debtors' key employee incentive program and authorizing, but

not directing payments thereunder ; and the Court finding that (a) it has jurisdiction over the

matters raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (b) this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); (c) the relief requested in the Motion is in the best interests of

the Debtors, their estates, and their creditors; (d) adequate notice of the Motion and the hearing

thereon has been given and that no other or further notice is necessary; and (e) upon the record

herein, after due deliberation thereon, good and sufficient cause exists for the granting of the

relief as set forth herein,

           IT IS HEREBY ORDERED that:

           1.       The Motion is GRANTED to the extent set forth in this Order.

           2.       The KEIP is hereby approved for the Program Participants listed on Exhibit B to

the Fioretti Certification, except that the KEIP is not approved for any participant whose

employment with the Debtors ceased prior to the occurrence of the Capital Event as defined in

the KEIP agreement attached as Exhibit A to the Fioretti Certification, and any further

references to the KEIP in this Order shall refer to the KEIP as modified herein.

           3.       To the extent the Program Participants remain employed with the Debtors through

the occurrence of the Capital Event as defined in the KEIP agreement, all amounts earned and

payable under the KEIP to the Program Participants shall have administrative expense priority

under sections 503(a) and 507(a)(2) of the Bankruptcy Code for all purposes in these chapter 11

2
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
                                                           2

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Page: 3
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cases and in any other cases under the Bankruptcy Code to which these cases may be converted.

          4.    The Debtors are hereby authorized, but not required, to take any and all actions

necessary or appropriate to implement the KEIP and to make all payments provided under the

KEIP to the Program Participants.

          5.    Notwithstanding the relief granted herein and any actions taken hereunder,

nothing contained herein shall constitute, nor is intended to constitute, the assumption or

adoption of any contract or agreement under 11 U.S.C. § 365.

          6.    Nothing in this Order is intended to, and shall not, constitute (i) an admission as

to the validity or priority of any claim against the Debtors or any objection thereto or (ii) the

assumption of any agreement.

          7.    The Court finds and determines that the requirements set forth in Bankruptcy Rule

6003 are satisfied and that the relief requested is necessary to avoid immediate and irreparable

harm.

          8.    To the extent applicable, the requirements of Bankruptcy Rule 6004(a) are hereby

waived.

          9.    The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order.

          10.   This Court shall retain exclusive jurisdiction to hear and decide any and all

disputes related to or arising from this Order.

          11.   Notwithstanding anything to the contrary in the Federal Rules of Bankruptcy

Procedure or otherwise, the effectiveness of this Order shall not be stayed, and this Order shall

be immediately effective upon its entry.


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